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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


 THEODORE McCLAIN,                                     2:19-cv-10700

                   Plaintiff,               HON. TERRENCE G. BERG

       v.                                      ORDER DENYING
                                           PLAINTIFF’S MOTION FOR
 DALEN PATRICK HANNA,                       EXTENSION OF TIME TO
 HANNA LAW PLLC,                          FILE REPLY IN SUPPORT OF
 HANNA LLP,                                   MOTION FOR CLASS
            Defendants.                      CERTIFICATION, AND
                                          DENYING OTHER PENDING
                                              MOTIONS AS MOOT



      This case presents the question of what happens if the lead plaintiff

in a proposed class action lawsuit files a “placeholder” motion for class

certification and then immediately accepts a defendant’s offer of

individual judgment under Rule 68 of the Federal Rules of Civil
Procedure, before the motion for class certification is fully briefed. Is the

Court required to enter judgment in the plaintiff’s favor on the individual

claims and dismiss the class claims, or can the complaint’s “captain-less”

vessel sail forward on the sea of class-action litigation? Applying the

Sixth Circuit’s precedent governing this area of law, the Court concludes

that, at least in this case, the complaint is sunk.
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      Plaintiff Theodore McClain brought suit against Defendants, Dalen

Patrick Hanna, Hanna PLLC, and Hanna LLP, an attorney and his law

firm, under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C.

§ 1692 et seq., and Michigan Regulation of Collection Practices Act, Mich.
Comp. Laws § 445.252(e) et seq. Plaintiff claims Defendants sent him two

letters and later called him on the telephone to collect a debt that was

time-barred. In accord with Rule 68, Defendants made an offer of
judgment on Plaintiff’s individual claims and Plaintiff accepted that

offer—but not before filing a self-described “placeholder” motion for class

certification. While settling his own claim Plaintiff nevertheless seeks to

maintain this suit in order to certify a class of all individuals with

Michigan addresses who received similar letters from Defendants

between March 8, 2018 and March 8, 2019.
      Several matters are currently before the Court: from Plaintiff, his

motion for class certification (ECF No. 13), his acceptance of the Rule 68

offer of judgment (ECF No. 14), and a motion for an extension of time to

file his reply to Defendants’ response to his motion for class certification

(ECF No. 18); from Defendants, a motion to dismiss the complaint (ECF

No. 22). The motion for class certification, expressly described by Plaintiff

as a mere “placeholder,” was filed to procedurally preserve class claims

even though Plaintiff had already resolved to accept Defendants’ offer of

judgment on his individual claims. Moreover, Plaintiff acknowledges he

does not yet have adequate facts to support his motion for class
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certification. Having closely examined relevant precedent, the Court

concludes that the mootness doctrine requires dismissal of Plaintiff’s

putative class claims. Accordingly, the Court will instruct the Clerk of

Court to enter Rule 68 judgment on Plaintiff’s individual claims and will
dismiss Plaintiff’s class claims as moot. Plaintiff’s motion to certify a class

(ECF No. 13), and for extension of time to file his reply (ECF No. 18), as

well as Defendants’ motion to dismiss the complaint (ECF No. 22), will
accordingly be denied as moot.

                             BACKGROUND

      Plaintiff Theodore McClain filed his class action complaint on

March 8, 2019, on behalf of himself and others similarly situated, alleging

that Defendants sent him two threatening letters and attempted to

contact him by phone to collect a time-barred debt. See ECF No. 1.
Defendant Dalen Hanna is an attorney licensed by the State of Michigan

and the District of Columbia. ECF No. 1 PageID.4. Defendant Hanna

Law PLLC is a domestic professional limited-liability company organized

under the laws of the State of Michigan. ECF No. 1 PageID.4. And

Defendant Hanna LLP is the name of an entity that appears on the

letters at issue in this case. ECF No. 1 PageID.4. Defendants’ website

advertises that they represent “a wide range of creditors in the area of

collecting past-due and otherwise uncollectible debt(s).” Practice, HANNA

LLP, https://www.hannallp.com/practice.


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      Plaintiff received a letter from Defendants dated March 26, 2018

claiming that he was “in default of payment in the amount of $93.22

USD” and “require[d]” to remit payment in full within 10 days to avoid

“the filing of a costly and damaging lawsuit.” ECF No. 1 PageID.6.
Plaintiff avers that he sent a letter to Defendants on April 5, 2018 in

which he wrote: “This is notice for all contact to cease per FDCPA. Any

further contact is by mail ONLY. . . . You are also directed to send me
proof of this debt including Insurance billings.” ECF No. 16-1

PageID.129. The debt at issue, according to Plaintiff, was for medical

services with Nationwide Foot & Ankle Care, P.C., the principal amount

being $63.22. ECF No. 1 PageID.7. Plaintiff maintains that the debt “was

more than six-years old from the date the payment was due when the

letter dated March 26, 2018, was sent [by Defendants].” The debt was
therefore time-barred and not collectible. ECF No. 1 PageID.7. But after

sending his “cease-contact letter” to Defendants, Plaintiff received

another letter from Defendants, dated May 10, 2018, which stated, “Our

office has not received any payment as was demanded in our

communications. . . . We are simply going to file a lawsuit against you.”

ECF No. 1 PageID.8. The letter also directed Plaintiff to contact

Defendants “If you believe there has been a mistake, or you have not

received   [Defendants’]    previous   letters.”   ECF   No.   1    PageID.8.

Additionally, Plaintiff contends “Defendants have placed at least one

phone call to Plaintiff after the receipt of Plaintiff’s letter dated April 5,
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2018.” ECF No. 1 PageID.9. Defendants never filed any lawsuit to collect

the debt. ECF No. 1 PageID.9. Instead, Plaintiff filed this complaint

alleging individual and class claims for violation of various Fair Debt

Collection Practices Act provisions. ECF No. 1.
      On March 15, 2019, Defendants sent Plaintiff an offer of Rule 68

judgment “offer[ing] to allow Judgment to be entered against them and

in favor of Plaintiff . . . as to all counts of Plaintiff’s complaint,” including
actual damages in the amount of $600.00 and statutory damages in the

amount of $1,501.00, as well as Plaintiff’s costs accrued to-date and

reasonable attorney’s fees. ECF Nos. 14-4, 14-2. The judgment appears

to represent the maximum amount of relief Plaintiff could receive for his

personal FDCPA claims. Four days later, on March 19, 2019, Plaintiff

filed a motion seeking to certify a class of plaintiffs who received letters
from Defendants from March 8, 2018 through and including March 9,

2019.1 See ECF No. 13 at PageID.48–49. Plaintiff described the motion

for class certification as “simply a placeholder motion, a belt and

suspenders motion, in light of Defendants’ Rule 68 Offer of Judgment,

which will subsequently be accepted by Plaintiff.” ECF No. 13 PageID.46.



1 More specifically, the proposed class includes individuals who received letters from
Defendants during this period that: (1) included an amount of interest or attorney’s
fees or collection fees not provided for in the underlying contract; (2) concerned debts
that had accrued more than six years before Defendants sent the letter; or (3) who
requested verification from Defendants, disputed the debt, or made a payment on the
debt and were not sued by Defendants within 60 days of the date the letter was sent.
ECF No. 13 PageID.48–49.
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Obviously, at the time the motion to certify a class was filed, Plaintiff had

already decided to accept the individual offer of judgment and settle

Plaintiff’s individual claims.

      The same day Plaintiff filed his motion for class certification, he
also filed a notice communicating his acceptance of Defendants’ offer of

judgment. In the notice, Plaintiff argued that his acceptance of the offer

“does not moot the claims of the putative class members or . . . Plaintiff’s
ability to seek to have a class certified and represent the certified class.”

ECF No. 14 PageID.64. He also emphasized that the offer of judgment

encompassed only Plaintiff’s individual claims. Id. Defendants then

opposed the motion for class certification on the basis that Plaintiff had

already accepted Defendants’ offer of judgment and thereby resolved his

individual claims, causing the potential class action to become moot. See
generally ECF No. 16. Additionally, Defendants urge that the proposed

class cannot meet Rule 23’s requirements of numerosity, commonality,

and typicality. Id.; see Fed. R. Civ. P. 23(a). Plaintiff then filed a motion

asking this Court to allow a substantial extension of time to reply to

Defendants’ response to the motion for class certification so that he can

conduct class discovery. See ECF No. 18. Plaintiff says he needs to gather

additional information to provide support for his motion for class

certification. Id. Defendants, in turn, filed a motion to dismiss the

complaint on the basis of Plaintiff’s acceptance of the offer of judgment,


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urging that judgment must now be entered on Plaintiff’s individual

claims, and the proposed class action claims dismissed. ECF No. 22.

                              DISCUSSION

      Rule 68 of the Federal Rules of Civil Procedure provides that a
defendant “may serve on an opposing party an offer to allow judgment on

specified terms, with the costs then accrued.” Fed. R. Civ. P. 68(a). If,

within 14 days of being served, the plaintiff “serves written notice
accepting the offer, either party may then file the offer and notice of

acceptance, plus proof of service. The clerk must then enter judgment.” Id.

(emphasis added). The Sixth Circuit has described operation of Rule 68

as “mandatory,” explaining that it “leaves no discretion in the district

court to do anything but enter judgment once an offer had been accepted.”

Mallory v. Eyrich, 922 F.2d 1273, 1279 (6th Cir. 1991). Because Rule 68
directs that “the clerk shall enter judgment after proof of offer and

acceptance have been filed,” the Rule expressly contemplates that “the

district court possesses no discretion to alter or modify the parties’

agreement.” Id. (emphasis in original). Entry of a Rule 68 judgment is

therefore “ministerial rather than discretionary.” Id. Its purpose “is to

encourage settlement and avoid litigation.” Carroll v. United Compucred

Collections, Inc., 399 F.3d 620, 624 (6th Cir. 2005) (quoting Marek v.

Chesny, 473 U.S. 1, 5 (1985)). “The rule prompts both parties to a suit to

evaluate the risks and costs of litigation, and to balance them against the


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likelihood of success upon trial on the merits.” Mallory, 922 F.2d at 1277

(quoting Marek, 473 U.S. at 5).

      Receiving an offer of judgment that fully addresses a plaintiff’s

claims appears at first blush to be purely a beneficial outcome for any
plaintiff. But when the suit includes a request to certify a class action,

accepting such an offer may also doom that request if no class has yet

been certified. This is because Article III of the Constitution requires that
“federal   courts   may   adjudicate       only   actual,   ongoing   cases   or

controversies.” Kentucky v. U.S. ex rel: Hagel, 759 F.3d 588, 595 (6th Cir.

2014) (internal quotation marks omitted). If a class has already been

certified, the settling of the named plaintiff’s claim will not moot the

entire action. The court will continue to have jurisdiction to decide the

merits of the action so long as a controversy continues to exist between
any other class member and the defendant. Wilson v. Gordon, 822 F.3d

934, 942 (6th Cir. 2016) (citing Brunet v. City of Columbus, 1 F.3d 390,

399 (6th Cir. 1993)). But “‘[if] the named plaintiff’s claim becomes moot

before [class] certification,’ the ordinary rule is that ‘dismissal of the

action is required.’” Wilson, 822 F.3d at 942 (quoting Brunet, 1 F.3d at

399 (emphasis in original)).

      The Sixth Circuit has acknowledged three exceptions to the general

rule requiring dismissal of an action where the named plaintiff’s claims

become moot before class certification. See Wilson, 822 F.3d at 944–952.

These exceptions include the “picking off” exception, so-called to describe
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the situation where the defendant “picks off” representative plaintiffs in

an otherwise valid class action by offering Rule 68 judgment, negotiating

settlement, or otherwise causing a lead plaintiff’s claims to become moot

(whether voluntarily or involuntarily) in an attempt to undermine the
class action process. The other two exceptions, not relevant here, are the

“inherently transitory” exception2 and the “capable of repetition but

evading review” exception. See Wilson, 822 F.3d at 944-52 (discussing all
three exceptions).

      Of these, the most relevant is the “picking off” exception to the

mootness doctrine; it originates from the Supreme Court’s decision in

Deposit Guaranty National Bank v. Roper, 445 U.S. 326, 339 (1980). In

that case, the Supreme Court held that neither the defendant’s

unaccepted offer of Rule 68 judgment on the individual putative

representatives’ claims nor the district court’s entry of judgment in favor

of named plaintiffs over their objections mooted their individual claims,

and that plaintiffs were therefore permitted to appeal the district court’s

2 The Court finds the “inherently transitory” exception does not apply here because
the injury alleged is not “so transitory that it would likely evade review by becoming
moot before the district court can rule on class certification.” Wilson, 822 F.3d at 954.
There is no inherent uncertainty about the length of time a claim for violation of the
Fair Debt Collection Practices Act or related Michigan law will remain alive. See id.
(citing Gawry v. Countrywide Home Loans, Inc., 395 F. App’x 152, 158–59 (6th Cir.
2010) (explaining that the crux of the inherently transitory exception is uncertainty
about how long a claim will remain alive)). Similarly, the “capable of repetition but
evading review” exception is not applicable because Plaintiff has not suggested either
that the same action by Defendants is likely to recur, or that if it did, it would not be
possible to obtain legal recourse against it.

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 denial of class certification. Id. at 339–40. Notably, the Court expressed

 concern that denying the right to appeal simply because the defendant

 unsuccessfully sought to “buy off” the named plaintiffs’ individual claims

 “would be contrary to sound judicial administration” and “frustrate the
 objectives of class actions” by requiring multiple plaintiffs to bring

 separate actions, only to be “picked off” by a defendant’s tender of

 judgment before the district court rules on class certification. Id. at 339.
 Essentially, the Court worried that class-action defendants would be

 permitted always to forestall any appeal of denial of class certification

 simply by tendering the individual damages alleged by the named

 plaintiffs. Id.

       The Roper Court was addressing the effect of unaccepted offers of

 Rule 68 judgment and involuntary termination of plaintiffs’ rights to
 appeal denial of class certification. The Sixth Circuit would subsequently

 distinguish Roper and another related case, United States Parole

 Commission v. Geraghty, 445 U.S. 388 (1980), from cases involving

 voluntary settlement by plaintiffs, including acceptance of Rule 68 offers

 of judgment. In Pettrey v. Enterprise Title Agency, Inc., 584 F.3d 701 (6th

 Cir. 2009), for example, the court distinguished the case before it from

 Roper and Geraghty first, on the basis that, in Pettrey, “the named

 plaintiffs’ claims were voluntarily relinquished, whereas they were

 involuntarily terminated in both Roper and Geraghty.” Pettrey, 584 F.3d

 at 705. Second, the Sixth Circuit distinguished Pettrey from Roper and
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 Geraghty because the Pettrey defendants agreed to pay all attorney’s fees

 and costs plaintiffs incurred in pursuing both their individual and class

 claims. Id. at 705. Accordingly, the Pettrey plaintiffs had no litigation

 costs that could be shifted to putative class members and so retained no
 personal stake in the litigation, rendering their appeal of the district

 court’s denial of class certification moot.3 Id.

       Though Pettrey was interpreting Roper, it did not directly implicate
 the “picking off” exception because in Pettrey settlement of the plaintiff’s

 claims occurred after the motion for class certification had already been

 denied. Id. at 707. Policy concerns related to the “picking off” of named

 plaintiffs, the Sixth Circuit determined, arise only “when a defendant

 attempts to eliminate the named plaintiffs at the outset of the class

 action by conveying an offer of judgment or settlement with the named

 plaintiffs before or immediately after a class certification motion is filed.”

 Id.

       In the instant case, this Court has not yet made any decision on
 class certification, nor is the motion for class certification even fully


 3 More recently, in Montgomery v. Kraft Foods Global, Inc., 822 F.3d 304 (6th Cir.
 2016), the Sixth Circuit examined a scenario in which the named plaintiff accepted
 the defendant’s Rule 68 offer of judgment, which included costs and attorney’s fees,
 but then sought to appeal the district court’s denial of class certification. The Sixth
 Circuit this time found that the plaintiffs’ acceptance of the offer of judgment
 foreclosed her appeal because certification of the class would not have had the
 potential to leave the plaintiff in a better position with respect to attorney’s fees and
 costs than would accepting the Rule 68 offer of judgment. Id. at 310.


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 briefed. Because the question before the Court is not whether Plaintiff

 has a right to appeal denial of class certification, Roper and Geraghty are

 not directly on point.4 Instead, to determine whether the “picking off”

 exception is properly applied here, the Court will analyze more recent
 Sixth Circuit opinions that have addressed application of the exception

 first articulated in Roper to cases where a motion for class certification

 has not yet been ruled on by the district court.

       In Brunet v. City of Columbus, 1 F.3d 390, a 1993 case central to

 this circuit’s “picking off” doctrine, no motion for class certification had

 yet been filed when the defendant offered to settle the named plaintiffs’

 individual    claims.     Plaintiffs   accepted     the    settlement     offer   but

 subsequently filed a motion for class certification. Id. at 400. The Sixth

 Circuit found the “picking off” exception did not apply under those facts
 because the exception had so far been “limited to the situation where a

 motion for class certification has been pursued with reasonable diligence

 and is then pending before the district court [when picking off occurs].”

 Id. (internal punctuation omitted) (citing Susman v. Lincoln Am. Corp.,

 587 F.2d 866, 870 (7th Cir. 1987), cert. denied, 445 U.S. 942 (1980) and

 Zeidman v. J. Ray McDermott & Co., 651 F.2d 1030, 1051 (5th Cir. 1981)).

 Critically, Brunet “distinguished between cases that are settled before a


 4 The Sixth Circuit stated, in Brunet, 1 F.3d at 400, that Roper and Geraghty “are
 limited to the question of a proposed class representatives’ right to appeal the denial
 of class certification.”

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 motion for class certification is filed and cases where a settlement offer

 is made to a named plaintiff while a motion for class certification is

 pending,” finding that tender made to an individual plaintiff in the latter

 situation “could prevent the courts from ever reaching the class action
 issues . . . even in cases where a class action would be most clearly

 appropriate.” Carroll, 399 F.3d at 625. It is now well-settled in this circuit

 that in the category of cases where a named plaintiff accepts an offer of
 settlement or Rule 68 judgment before moving for class certification, she

 will no longer have a live case or controversy and will therefore be

 disqualified from representing a putative class, causing the case to

 become moot and depriving the district court of jurisdiction. See, e.g.,

 Montgomery, 822 F.3d at 311; Gawry v. Countrywide Home Loans, Inc.,

 395 F. App’x 152, 156 (6th Cir. 2010); Pettrey, 584 F.3d at 704–06; Brunet,
 1 F.3d at 399–400. But Sixth Circuit jurisprudence is less clear when it

 comes to the other category of cases—those where a settlement offer is

 made to a named plaintiff while a motion for class certification is

 pending. The difficulty appears to stem from the myriad of different

 factual scenarios encompassed within this latter category, which

 implicate to varying degrees the policy concerns underpinning the

 “picking off” exception.

       In Carroll v. United Compucred Collections, Inc., the Sixth Circuit

 addressed “the effect of an unaccepted Rule 68 offer of judgment in a case

 where class certification is pending but has not yet been granted.” 399
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 F.3d at 624–25 (emphasis added). The named Carroll plaintiffs had

 moved for class certification and the district court then referred the

 motion to a magistrate judge, who issued a Report and Recommendation

 indicating that the district court should certify the class. Id. at 621–22.
 Three months later, the defendant tendered an offer of Rule 68 judgment

 to the named plaintiffs and the putative class “that equaled or exceeded

 the maximum recovery to which each was entitled under the FDCPA,”
 including costs and reasonable attorney’s fees. Id. The defendant then

 moved to dismiss plaintiffs’ class action complaint as moot merely on the

 basis of the pending offer of judgment. Id. The following day, the offer

 was accepted by the named plaintiffs on behalf of themselves and the

 class. Id. Relying on the fact that the motion to certify the class had

 already been filed and fully briefed at the time the defendant made its
 offer of judgment, and a Report and Recommendation suggesting class

 certification issued (though not yet accepted by the district court), the

 Sixth Circuit affirmed the district court’s denial of the defendants’ motion

 to dismiss the complaint as moot. Id. at 625. The panel in Carroll

 interpreted Brunet’s holding to mean “that it would be inappropriate to

 hold that a case was mooted by a settlement offer made to a named

 plaintiff when a motion for class certification was pending.” 399 F.3d at

 625.

        Consistent with the Sixth Circuit’s ruling in Carroll, the Supreme

 Court recently held, in Campbell-Ewald Company v. Gomez, 136 S. Ct.
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 663, 666 (2016), that a defendant’s unaccepted offer of Rule 68 judgment,

 even if presented before the plaintiff moves for class certification, will not

 render a potential class action complaint moot. In that case, before the

 deadline to file a motion for class certification, the defendant proposed to
 settle the plaintiff’s individual claim and filed an offer of judgment under

 Rule 68. Id. at 667. The offer included costs, excluding attorney’s fees (the

 award of which was not provided for by the statute at issue), treble-
 damages, and an injunction prohibiting defendant from engaging in the

 conduct act issue in the suit. Id. at 667–68. But the named plaintiff did

 not accept the settlement offer within 14 days, causing it to lapse under

 Rule 68(a). Fed. R. Civ. P. 68(a). Defendant thereafter moved to dismiss

 the case under Federal Rule of Civil Procedure 12(b)(1) for lack of subject-

 matter jurisdiction under the theory that no live case or controversy
 remained. Campbell-Ewald Co., 136 S. Ct. at 668. The Supreme Court

 granted certiorari to resolve disagreement among the Courts of Appeal

 “over whether an unaccepted offer can moot a plaintiff’s claim, thereby

 depriving federal courts of Article III jurisdiction.” Id. at 669.

 Emphasizing that, “[a]s long as the parties have a concrete interest,

 however small, in the outcome of the litigation, the case is not moot,” the

 Court concluded that “an unaccepted settlement offer or offer of judgment

 does not moot a plaintiff’s case.” Id. at 669 (quoting Chafin v. Chafin, 568

 U.S. 165, 172), 672. Though Campbell sheds little light on the “picking

 off”   exception,   the   Supreme    Court    appeared    to   weigh    policy
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 considerations that counsel against putting defendants “‘in the driver’s

 seat,’ enabling them to avoid significant class-based liability.” Wilson,

 822 F.3d at 949–50 (quoting Campbell-Ewald Co., 136 S. Ct. at 672).

       Shortly after the Supreme Court’s ruling in Campbell-Ewald Co. v.
 Gomez, the Sixth Circuit again addressed the “picking off” exception in

 both Wilson v. Gordon, 822 F.3d 934 and Unan v. Lyon, 853 F.3d 279 (6th

 Cir. 2017). In Wilson, the plaintiffs alleged that as a result of problems
 related to updating the State of Tennessee’s Medicaid program,

 TennCare, they experienced delays in their Medicaid eligibility

 determinations and did not receive fair hearings on those delays. See id.

 at 939–42. A day before the hearing on plaintiffs’ motion for class

 certification, the State enrolled the named plaintiffs and 100 other

 potential class members in TennCare. Id. at 941. The Sixth Circuit
 agreed with the district court that the “picking off” exception applied “and

 pointed to the timing and method of relief to support [the court’s]

 conclusion.” Unan, 853 F.3d at 286 (discussing Wilson, 822 F.3d at 950–

 51). For example, the court found it relevant that the individual claims

 were mooted on the eve of the class certification hearing and through an

 ad hoc process rather than a standard, established procedure for

 settlement, such as a Rule 68 offer of judgment. Wilson, 822 F.3d at 950–

 51. The Wilson court also reiterated policy concerns that weigh in favor

 of applying the “picking off” exception to mootness where a motion for

 class certification is pending because in that situation “the defendant is
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 on notice that the named plaintiff wishes to proceed as a class, and the

 concern that the defendant therefore might strategically seek to avoid

 that possibility exists.” Unan, 853 F.3d at 285 (quoting Wilson, 822 F.3d

 at 947; Brunet, 1 F3d at 400 (“If a tender made to the individual plaintiff
 while the motion for class certification is pending could prevent the

 courts from ever reaching the class action issues, that opportunity is at

 the mercy of a defendant, even in cases where a class action would be
 most clearly appropriate”). For similar reasons, the Sixth Circuit applied

 the “picking off” exception in Unan, which was factually similar to

 Wilson. There, the defendant did not seek to resolve the named plaintiffs’

 individual claims until after a motion for class certification was filed.

 Unan, 853 F.3d at 286. Additionally, the court observed how defendant

 “quickly moved to moot the claims of . . . a putative class member, as soon
 as she was identified in a motion to intervene as a potential [class]

 representative,” and did so via an ad hoc process, and on a case-by-case

 basis after certain individual named plaintiffs were identified in the

 lawsuit. Id.

       Regarding the impact timing of a named plaintiff’s acceptance of

 Rule 68 judgment has on determining whether the putative class action

 will be considered moot, the Sixth Circuit suggested, in Mey v. North

 American Bancard, LLC, 655 F. App’x 332 (6th Cir. 2016), that for the

 “picking off” exception to apply, a motion for class certification must be

 not only pending but “perhaps also fully briefed at the time that the lead
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 plaintiff’s individual claims became moot” because of her acceptance of

 an offer of judgment. (citing Carroll, 399 F.3d at 625 and Brunet, 1 F.3d

 at 399–400). Only then will the putative class action survive. In Mey,

 apparently wary of the prospect that a Rule 68 offer of judgment could
 moot her putative class claims, the plaintiff filed a motion for class

 certification along with her complaint to prevent defendant from “picking

 her off” to avoid class action litigation. Mey, 655 F. App’x at 334. But the
 district court denied the motion for class certification as premature,

 citing the need to serve the defendant and issue a scheduling order. Id.

 at 335. Before the Court issued its scheduling order, the defendant made

 a Rule 68 offer of judgment. Id. at 334. The offer satisfied the individual

 plaintiff’s demands, including compensation for all alleged Telephone

 Consumer Protection Act violations, and an injunction. Id. at 337. When
 plaintiff rejected that offer, the defendant complained that the offer had

 by itself mooted plaintiff’s individual claims and asked the court to enter

 judgment on plaintiff’s individual claims in plaintiff’s favor and dismiss

 the remaining class claims. Id. at 335. Applying the Supreme Court’s

 recent decision in Campbell-Ewald Company v. Gomez, the Sixth Circuit

 determined that the lower court had improperly dismissed plaintiff’s

 individual claims based only on the unaccepted offer of Rule 68 judgment.

 Id. at 337. But the Sixth Circuit declined “to revisit the scope and

 applicability of Brunet and Carroll in light of [the] recent decision in

 Wilson v. Gordon. 922 F.3d 934 (6th Cir. 2016),” and therefore to assess
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 the effect potential mooting of plaintiff’s individual claims would have on

 her class claims. Id. Though Mey by no means offers comprehensive

 guidance on application of the “picking off” exception when a motion for

 class certification is pending, the opinion’s dicta suggesting that a motion
 for class certification should be fully briefed at the time the named

 plaintiff’s individual claims became moot for her class claims to survive

 is instructive in resolving the case presently before the Court.
       The Supreme Court has not addressed the question of whether a

 named plaintiff who voluntarily settles her claim while a motion for class

 certification is pending can continue to represent a class. Wilson, 822

 F.3d at 943 n.2. Neither has the Sixth Circuit taken a definitive position

 on whether, and under precisely which circumstances, the “picking off”

 exception applies to a named plaintiff who voluntarily settles her
 individual claims, for example, by accepting a Rule 68 offer of judgment,

 while her motion for class certification is pending but not yet fully

 briefed. Id. at 951 n.3; see Mey, 655 F. App’x at 337 (declining to revisit

 the question of what effect the mooting of a lead plaintiff’s claims through

 Rule 68 judgment will have on potential class claims after the Sixth

 Circuit’s opinion in Wilson, 822 F.3d 934). Trends in the Sixth Circuit’s

 recent jurisprudence suggest that, in applying the “picking off” exception,

 the court is shifting its focus to the defendant’s behavior to assess

 whether the policy concerns justifying the exception are implicated. At

 the same time, however, the court appears unwilling to mechanically
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 apply the exception when a named plaintiff’s class claims are yet merely

 speculative, as is the case when the motion for class certification is not

 yet fully briefed or well-supported.

       Reviewing the Sixth Circuit’s cases relevant to the “picking off”
 exception, it appears that the appellate court is applying a sliding scale

 test of sorts. At one end of the scale, the court weighs the extent to which

 the plaintiff’s putative class claims have been well-developed and
 supported in the briefing of the parties and considered by the trial court.

 The more developed and considered the class action claims are—such as

 after the motion for class certification is fully briefed—the less willing

 the court will be to allow a defendant to moot the class action by settling

 with the lead plaintiff. Such was the case in Carroll, where the

 magistrate judge had already issued a Report and Recommendation
 suggesting class certification when the defendant sought to dismiss the

 class claims on the basis of an unaccepted offer of Rule 68 judgment. 399

 F.3d at 624–25. The Sixth Circuit affirmed the district court’s denial of

 the defendants’ motion to dismiss the complaint as moot. Id. at 625.

 Inversely, the more speculative and less developed the class claims, the

 more willing the court will be to apply the general rule that settling with

 the lead plaintiff will moot the case and require dismissal.

       At the other end of the scale, the court weighs the extent to which

 the defendant’s conduct reveals an underlying motive or stratagem to

 settle the lead plaintiff’s claims simply to eviscerate a potentially valid
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 class action. The more evidence there is of such a motivation, the more

 the court will be likely to apply the “picking-off” exception to the mootness

 doctrine. But where there is little or no evidence suggesting such a

 motivation, the court will be less inclined to find that the “picking-off”
 exception applies. These policy concerns were originally expressed by the

 Supreme Court in Roper and recently reiterated by the Sixth Circuit in

 Wilson and Unan. This Court’s efforts to interpret the thrust of Sixth
 Circuit jurisprudence aside, none of the circuit’s existing opinions offer

 clear guidance for the precise factual scenario before this Court, where

 the plaintiff files a “placeholder” motion for class certification almost

 simultaneously with her notice of acceptance of defendant’s offer of

 judgment on the individual claims. Having carefully examined relevant

 precedent in this circuit, the Court finds it would not be proper to apply
 the “picking off” exception to this case for the following reasons.

       First, the reasoning set out in Mey, Brunet, and Carroll suggests

 that a motion for class certification should be well-supported and fully

 briefed for it to serve as a safeguard against the mooting of class claims

 after the lead plaintiff accepts an individual offer of judgment. 655 F.

 App’x 332; 1 F.3d 390; 399 F.3d 620. This reading leads the Court to

 conclude that a plaintiff cannot preserve class claims simply by filing a

 placeholder motion for class certification, unsupported by evidence or

 substantive legal arguments, where the representative plaintiff has fully

 accepted a settlement. Here, Plaintiff filed a shell motion for class
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 certification eleven days after his complaint, and just four days after he

 received (and had already decided to accept but had not yet formally

 accepted) an offer of individual judgment from Defendants. See ECF Nos.

 1, 13, 14-2. Plaintiff readily admitted that the motion was “simply a
 placeholder . . . in light of Defendants’ Rule 68 Offer of Judgment, which

 will subsequently be accepted by Plaintiff, who is of the position that a

 class action still can be maintained after such an acceptance.”5 ECF No.
 13 PageID.46. He further acknowledged that to adequately respond to

 Defendants’ arguments against class certification, it would be necessary

 to “seek discovery as to the number of class members” and other

 outstanding questions. ECF No. 13 PageID.53. Plaintiff’s motion for class

 certification was therefore admittedly premature, like the plaintiff’s

 motion in Mey. See 655 F. App’x at 334.



 5  Further informing the Court’s decision that Plaintiff’s filing of a “placeholder”
 motion for class certification cannot by itself preserve his class claims is the fact that
 “there is neither a procedural rule nor any Sixth Circuit authority that allows for the
 filing of such premature, ‘placeholder motions.’” Wasvary v. WB Holdings, LLC, No.
 15-10750, 2015 WL 5161370, at *3 (E.D. Mich. Sep. 2, 2015). Accordingly, “[c]ourts
 typically dismiss ‘placeholder’ motion[s] for class certification as premature.”
 Progressive Health and Rehab Corp. v. Strategy Anesthesia, LLC, 271 F. Supp.3d 941,
 949 (S.D. Ohio 2017) (citations omitted); see Vinny’s Landscaping, Inc. v. United Auto
 Credit Corp., No. 16-102765, 2016 WL 9223839, at *2 (E.D. Mich. Jan. 27, 2016)
 (denying a “placeholder” motion for class certification without prejudice because it
 was premature and no procedural rule of Sixth Circuit authority allowed for its
 filing); Beaudry v. Telecheck Serv., Inc., No. 3:07-cv-0842, 2010 WL 2901781, at *4
 (M.D. Tenn. Jul. 20, 2010) (“It does appear that, if [plaintiff] voluntarily settles her
 individual claims before filing a ripe motion for class certification, the class claims
 should be dismissed.”) (emphasis in original).


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       Second, the policy implications as originally articulated in Roper

 and more recently reemphasized by the Sixth Circuit in Wilson and Unan

 are not implicated. Here, Defendants made their offer of Rule 68

 judgment to settle plaintiff’s claims before any motion for class
 certification was pending. In fact, Plaintiff expressed his intent to accept

 the offer of judgment in his motion for class certification. ECF No. 13

 PageID.46. That offer was not made pursuant to any type of unusual, ad-
 hoc process, as was the case in Wilson and Unan, see 822 F.3d 934; 853

 F.3d 279, and the plaintiff in this case voluntarily and almost

 immediately accepted the offer to settle his claims; it was not rejected as

 in Carroll and Campbell-Ewald. Additionally, in emails exchanged

 between the parties, one of the Defendants, Dalen Hanna, stated that

 “the instance which gave rise to the Plaintiff’s claim was an honest
 mistake and an isolated incident; the only one of its kind.” ECF No. 14-3

 PageID.90. Defendant further reiterated that he had tried to contact

 counsel for Plaintiff numerous times, even before being served with the

 complaint, to settle Plaintiff’s individual claims. Id. Plaintiff, however,

 “completely ignored [Defendants’] many attempts to discuss an amicable

 resolution” to this matter prior to the filing of a lawsuit. Id. This dynamic

 undercuts any potential concern that Defendants are attempting to gut a

 valid class action. To the contrary, they appear cognizant of wrongdoing

 on their part and have made diligent efforts to remunerate Plaintiff.


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       In summary, the Sixth Circuit’s jurisprudence in this area does not

 permit a plaintiff who plainly plans to accept an offer of judgment as to

 his individual claims to preserve potential class claims merely by filing a

 bare-bones motion for class certification—particularly where there is no
 evidence suggesting that, in offering to settle plaintiff’s individual claims,

 defendants’ actual purpose was to defeat a legitimate class action. If

 Defendants’ actions were truly extensive enough to harm a large number
 of victims, due diligence may in time reveal facts capable of supporting a

 class action. But this plaintiff’s case is settled, and there is no remaining

 controversy to be heard. Dismissal is required.

                               CONCLUSION
       For these reasons, judgment shall be entered on Plaintiff’s

 individual claims in accordance with Rule 68 of the Federal Rules of Civil
 Procedure. It is further ORDERED that Plaintiff’s class action claims

 are DISMISSED without prejudice as moot. Accordingly, Plaintiff’s

 motion for class certification (ECF No. 13), and motion for an extension

 of time to file his reply in support of the motion for class certification

 (ECF No. 18) are also DENIED as moot. Defendants’ motion to dismiss




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 the complaint (ECF No. 22) will also be DENIED as moot.


       SO ORDERED.


 Dated: May 31, 2019                s/Terrence G. Berg
                                    TERRENCE G. BERG
                                    UNITED STATES DISTRICT JUDGE




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